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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,           )
                                    )
                   Plaintiff,       )     ORDER OF RECUSAL
                                    )
             vs.                    )
                                    )     Case No. 3:20-cr-1
Chad Michael Waldoch,               )
                                    )
                   Defendant.       )
                                    )
______________________________________________________________________________

       Pursuant to 28 U.S.C. § 455(a), the undersigned recuses himself from hearing or

determining any further proceeding in this case.

       IT IS SO ORDERED.

       Dated this 14th day of February, 2020.

                                             /s/ Peter D. Welte
                                             Peter D. Welte, Chief Judge
                                             United States District Court
